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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

METALLICA, a California general partnership,

          Plaintiff,                                       Case No.: 1:19-cv-06915

v.                                                         Judge Sharon Johnson Coleman

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Maria Valdez
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

              PLAINTIFF’S MEMORANDUM IN SUPPORT OF ITS
    MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT AGAINST THE
        DEFENDANTS IDENTIFIED IN THE FIRST AMENDED SCHEDULE A

          Plaintiff METALLICA, a California general partnership (“METALLICA” or “Plaintiff”)

submits the following memorandum in support of its Motion for Entry of Default and Default

Judgment under Fed. R. Civ. P. 55 against the defendants identified in the First Amended Schedule

A 1 (collectively, the “Defaulting Defendants”) based on Plaintiff’s action for trademark

infringement, counterfeiting, false designation of origin and violation of the Illinois Uniform

Deceptive Trade Practices Act. Excluded from this motion are defendants that have settled with

METALLICA.

          METALLICA is a California general partnership comprised of Lars Ulrich, a Danish

citizen, James Hetfield, a U.S. citizen, and Kirk Hammett, a U.S. citizen. Complaint, Docket Entry

1 at ¶¶ 6-10. Since the initial launch of its original METALLICA brand products, Plaintiff’s

METALLICA marks are and have been the subject of continuous marketing and promotion by

Plaintiff. Id. Plaintiff has and continues to market and promote its METALLICA marks to



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    Metallica’s Motion for Entry of Default and Default Judgment does not apply to the excepted
    Defendants marked in the First Amended Schedule A.
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consumers. Id. The U.S. registrations for the METALLICA Trademarks have been continuously

used and never abandoned. Id.

       On information and belief, the Defendants create numerous Defendant Internet Stores and

design them to appear to be selling genuine Plaintiff products, while selling inferior imitations of

Plaintiff’s products. The Defendant Internet Stores share unique identifiers, such as design elements

and similarities of the counterfeit products offered for sale, establishing a logical relationship

between them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Id. at ¶ 4. Defaulting Defendants conduct

business throughout the United States, including within the State of Illinois and this Judicial

District, through the operation of the fully interactive commercial websites and online marketplaces

operating under the Defendant Domain Names and Online Marketplace Accounts (collectively, the

“Defendant Internet Stores”) identified in the First Amended Schedule A. Id. at ¶ 2. Each Defaulting

Defendant targets the United States, including Illinois, and has offered to sell, and on information

and belief, has sold and continues to sell Counterfeit METALLICA Products to consumers within

the United States, including the State of Illinois. Id. Additional factual assertions applicable to

Defaulting Defendants are found in Paragraphs 14-23 of the Complaint are incorporated herein.

Id. at ¶¶ 14-23.

       METALLICA filed this action on October 21, 2019, alleging, among other claims,

federal trademark infringement and seeks statutory damages and injunctive relief. Docket Entry

1. On November 5, 2019, this Court granted Plaintiff’s Ex Parte Motion for Entry of a

Temporary Restraining Order (the “TRO”) and subsequently converted the TRO into a

Preliminary Injunction on November 20, 2019.




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        Paragraph 13 of the TRO permitted Plaintiff to complete service of process to Defendants

by electronic publication at the Defendant Domain Names which were transferred to Plaintiff’s

control, or by sending an e-mail to the e-mail addresses identified in Exhibit 2 to the Declaration

of Paul Varley and any e-mail addresses provided for Defendants by third parties. The Defendants

identified in the First Amended Schedule A that are associated with eBay, PayPal, Amazon and

Alipay accounts were properly served on November 21, 2019. Docket Entry 24. None of the

Defaulting Defendants has entered an appearance or otherwise defended this action. See

Declaration of Keith A. Vogt (the “Vogt Declaration”) at ¶ 2.

        Pursuant to Federal Rule of Civil Procedure 55(a) and (b)(2), METALLICA now moves

this Court for an Order entering default and default judgment finding that Defaulting Defendants

are liable on Counts I and II of Plaintiff’s Complaint. Fed. R. Civ. P. 55(a) and (b)(2).

METALLICA further seeks an award of statutory damages as authorized by 15 U.S.C. § 1117(c)(2)

for willful trademark counterfeiting against each of the Defaulting Defendants for use of infringing

and counterfeit METALLICA Trademarks in connection with products sold through each of the

Defendant Internet Stores. Plaintiff also seeks entry of a permanent injunction prohibiting

Defaulting Defendants from selling Counterfeit/Infringing Products, an Order that the domain

names used by Defaulting Defendants to sell Counterfeit METALLICA Products be permanently

transferred to Plaintiff, and that all assets in Defaulting Defendants’ financial accounts operated

by eBay, PayPal, Amazon and Alipay, as well as any newly discovered assets, be transferred to

Plaintiff.




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                                             ARGUMENT

I.        JURISDICTION AND VENUE ARE PROPER IN THIS COURT

          This Court has original subject matter jurisdiction over the claims in this action pursuant

to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., 28 U.S.C. § 1338(a)-(b) and 28

U.S.C. § 1331. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in Illinois and causes harm to Plaintiff’s business

within this Judicial District. See Complaint, Docket Entry 1, at ¶ 2; uBID, Inc. v. GoDaddy Grp.,

Inc. 623 F.3d 421, 423-24 (7th Cir. 2010) (without benefit of an evidentiary hearing, plaintiff

bears only the burden of making a prima facie case for personal jurisdiction; all of plaintiff's

asserted facts should be accepted as true and any factual determinations should be resolved in its

favor).

          Through at least the fully interactive commercial Internet websites and online

marketplace accounts operating under the Defendant Internet Stores, each of the Defaulting

Defendants has targeted sales from Illinois residents by operating websites and/or online

marketplace accounts that offer shipping to the United States, including Illinois and, on information

and belief, has sold Counterfeit/Infringing Products to residents within the United States, including

Illinois. Many of the websites look sophisticated and accept payment in U.S. Dollars via credit

cards, Western Union, and PayPal. Docket Entry 1 at ¶ 16. As such, personal jurisdiction is proper

since each of the Defaulting Defendants is committing tortious acts in Illinois, is engaging in

interstate commerce and has wrongfully caused Plaintiff substantial injury in the State of Illinois.

See, Entertainment One UK Ltd. v. The Partnerships and Unincorporated Associations Identified

on Schedule “A”, No. 18-cv-07685 (N.D. Ill. Jan, 10, 2019); Metallica, a California general



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partnership v. The Partnerships and Unincorporated Associations Identified on Schedule “A”,

No. 19-cv-02219 (N.D. Ill. Jul. 17, 2019) and Metallica, a California general partnership v. The

Partnerships and Unincorporated Associations Identified on Schedule “A”, No. 19-cv-06791

(N.D. Ill. December 2, 2019).

II.      METALLICA HAS MET THE REQUIREMENTS FOR ENTRY OF DEFAULT

         Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, “when a party against

whom a judgment for affirmative relief is sought has failed to plead or otherwise defend, and that

failure is shown by affidavit or otherwise, the clerk must enter the party's default.” Fed. R. Civ.

P. 55(a). On October 21, 2019, METALLICA filed its Complaint alleging, among other claims,

federal trademark infringement and counterfeiting, 15 U.S.C. § 1114 (Count I) and false

designation of origin, 15 U.S.C. § 1125(a) (Count II). The Defendants were properly served on

November 21, 2019. Docket Entry 24. Despite having been served with process, the Defaulting

Defendants have ignored these proceedings and failed to plead or otherwise defend this action.

Vogt Declaration at ¶ 2. Upon information and belief, the Defaulting Defendants are not active-

duty members of the U.S. armed forces. Id. at ¶ 3. Accordingly, METALLICA asks for entry of

default against the Defaulting Defendants.

III.     METALLICA HAS MET THE REQUIREMENTS FOR ENTRY OF
         DEFAULT JUDGMENT

          Rule 55(b)(2) of the Federal Rules of Civil Procedure provides for a court-ordered default

judgment. A default judgment establishes, as a matter of law, that defendants are liable to plaintiff

on each cause of action alleged in the complaint. United States v. Di Mucci, 879 F.2d 1488, 1497

(7th Cir. 1989). When the Court determines that a defendant is in default, the factual allegations

of the complaint are taken as true and may not be challenged, and the defendants are liable as a




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matter of law as to each cause of action alleged in the complaint. Black v. Lane, 22 F.3d 1395,

1399 (7th Cir. 1994).

       Twenty-one (21) days have passed since Defendants were served, and no answer or other

responsive pleading has been filed by any of the Defaulting Defendants identified in the First

Amended Schedule A. See Fed. R. Civ. P. 12(a)(1)(A). Accordingly, default judgment is

appropriate, and consistent with previous similar cases in front of this Court, METALLICA

requests an award of statutory damages as authorized by 15 U.S.C. § 1117(c)(2) for willful

trademark infringement and counterfeiting against each of the Defaulting Defendants for use of

infringing and counterfeit imitations of Plaintiff’s Trademarks in connection with products sold

through the Defendant Internet Stores. METALLICA also seeks entry of a permanent injunction

prohibiting Defaulting Defendants from selling Counterfeit/Infringing Products, an order that

domain names used by Defaulting Defendants to sell Counterfeit METALLICA Products be

permanently transferred to Plaintiff, and that all assets in Defaulting Defendants’ financial

accounts operated by eBay, PayPal, Amazon and Alipay and any newly identified accounts be

transferred to Plaintiff.

       A.      Trademark Infringement and Counterfeiting

       To properly plead a claim of trademark infringement and counterfeiting pursuant to the

Lanham Act, a plaintiff must allege that (1) its mark is distinctive enough to be worthy of

protection, (2) defendants are not authorized to use the mark; and (3) defendant’s use of the mark

causes a likelihood of confusion as to the origin or sponsorship of defendant’s products. See

Neopost Industrie B.V. v. PFE Int’l Inc., 403 F. Supp. 2d 669, 684 (N.D. Ill. 2005) (citing Bliss

Salon Day Spa v. Bliss World LLC, 268 F.3d 494, 496-97 (7th Cir. 2001)).




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       Plaintiff alleged in its Complaint that its METALLICA Trademarks are distinctive, that

Defaulting Defendants have knowledge of Plaintiff’s rights in the METALLICA Trademarks,

that Defaulting Defendants are not authorized to use the METALLICA Trademarks, and that

Defaulting Defendants’ use of the METALLICA Trademarks causes a likelihood of confusion.

Docket Entry 1 at ¶¶ 24-30. Since the Defaulting Defendants have failed to respond or otherwise

plead in this matter, the Court must accept the allegations contained in Plaintiff’s Complaint as

true. See Fed. R. Civ. P. 8(b)(6); Am. Taxi Dispatch, Inc., v. Am. Metro Taxi & Limo Co., 582 F.

Supp. 2d 999, 1004 (N.D. Ill. 2008). Accordingly, Plaintiff requests entry of judgment with

respect to Count I for willful infringement and counterfeiting of the METALLICA Trademarks

against the Defaulting Defendants.

       B.      False Designation of Origin

       A plaintiff bringing a false designation of origin claim under 15 U.S.C. § 1125(a) must

show that: (1) the plaintiff has a protectable trademark; and (2) a likelihood of confusion will exist

as to the origin of plaintiff’s products. All Star Championship Racing, Inc. v. O’Reilly Auto.

Stores, Inc., 2013 WL 1701871, *10 (C.D. Ill. Apr. 18, 2013) (citing Johnny Blastoff, Inc. v. Los

Angeles Rams Football Co., 188 F. 3d 427, 436 (7th Cir. 1999)). This is the same test that is used

for bringing a trademark infringement claim under the Lanham Act. See Neopost, 403 F. Supp.

2d at 684.

       Plaintiff alleged in its Complaint that Defaulting Defendants are using the federally

registered METALLICA Trademarks without authorization on the Counterfeit/Infringing

Products. This creates a likelihood of confusion, mistake, and deception among the general public

as to the affiliation, connection, or association with METALLICA or the origin, sponsorship, or

approval of Defaulting Defendants’ Counterfeit/Infringing Products by METALLICA. Id. at ¶¶



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31-35. Furthermore, by using the METALLICA Trademarks on the Counterfeit/Infringing

Products, Defaulting Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the Counterfeit Counterfeit/Infringing

Products. Id. As a result, Plaintiff requests entry of judgment with respect to Count II for willful

false designation of origin against the Defaulting Defendants.

IV.    METALLICA IS ENTITLED                       TO     MONETARY             DAMAGES           AND
       INJUNCTIVE RELIEF

       The awarding of statutory damages serves dual interests in that it is remedial in nature, but

also intended to protect an important public interest. Given the broader economic losses and harm

to the job market caused by counterfeiting, coupled with the possible harm to consumers who are

tricked into purchasing low quality, counterfeit products over the Internet, it is important to both

penalize defendants and try to deter future violations.

       A.      Statutory Damages Are Appropriate in this Case

       Pursuant to the statutory damages provision of the Lanham Act, 15 U.S.C. § 1117(c), a

plaintiff in a case involving the use of a counterfeit mark may elect to receive “not less than $1,000

or more than $200,000 per counterfeit mark per type of goods or services sold, offered for sale,

or distributed, as the court considers just.” 15 U.S.C. § 1117(c)(1). When the counterfeiting is

found to be willful, 15 U.S.C. § 1117(c)(2) provides for statutory damages of up to “$2,000,000

per counterfeit mark per type of goods or services sold, offered for sale, or distributed, as the court

considers just.” 15 U.S.C. § 1117(c)(2).

       Although 15 U.S.C. § 1117(c) contains the dollar range for possible statutory damage

awards, the only guidance provided by the statute for how to determine a damage award within

the statutory dollar range is “as the court considers just.” 15 U.S.C. § 1117(c). Courts interpreting

15 U.S.C. § 1117(c) have analogized case law applying the statutory damage provision of the


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Copyright Act contained in 17 U.S.C. § 504(c). See Lorillard Tobacco Co., 2004 U.S. Dist.

LEXIS 22563, *10; Sara Lee v. Bags of New York, Inc., 36 F. Supp. 2d 161, 166 (S.D.N.Y. 1999).

In Sara Lee, 36 F. Supp. 2d at 170, the court awarded statutory damages in the amount of

$750,000 after estimating the defendants' ill-gotten gains and trebling them to "deter and punish

a willful continuous course of infringements and defiance of the judicial process." The Sara Lee

analysis included seven factors: (1) the profits made by the defendants; (2) the revenues lost by

plaintiff; (3) the value of the mark; (4) the deterrent effect on others; (5) whether the conduct was

innocent or willful; (6) whether a defendant has cooperated in providing records; and (7) the

deterrent effect on the defendant.

       The USPTO’s Office of Policy and International Affairs and the National

Telecommunications and Information Administration (“NTIA”) together working as part of the

Department of Commerce’s Internet Policy Task Force conducted a review of the relationship

between the availability and protection of online copyrighted works and innovation in the Internet

economy. The Internet Policy Task Force’s White Paper on Remixes, First Sale, and Statutory

Damages (White Paper) was published on January of 2016, (See, Exhibit 1), which recognizes

in copyright law that reduced damages may be warranted to avoid impeding new creative works,

e.g., remixes -- works created through changing and combining existing works to produce

something new and creative -- as part of a trend of user generated content. Id. at 98. However,

in cases of willful infringement, such as before this Court, the same report finds that high

statutory damages are warranted since “[t]hese circumstances present the clearest need for

deterrence and punishment. Id. at 99. Moreover, regarding straight-out counterfeiting where

impeding creativity is not a concern, The Office of the U. S. Trade Representative issued findings

of the Special 301 Out-of-Cycle Review of Notorious Markets for 2015, December 2015 (See,



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Exhibit 2), highlighted disturbing trends in the marketing and distribution of counterfeit goods

online, with escalating levels of counterfeit sales online including an increase in the services that

support such operations. With an estimated 15% increase in online sales of counterfeit goods last

year, the economic toll of counterfeiting on governments, businesses, and consumers is

disturbing.

        Accordingly, a significant consideration should be whether infringing sales were made

over the Internet, with the rationale was that sales over the Internet increased the amount of an

award because use of the Internet made the infringement widely available.

        The lack of information regarding Defaulting Defendants’ sales and profits makes

statutory damages particularly appropriate for default cases like the instant case. See Petmed

Express, Inc. v. medpets.com, Inc., 336 F. Supp. 2d 1213, 1220 (S.D. Fla. 2004). Likewise, Courts

have recognized that statutory damages should be awarded without requiring an evidentiary

hearing. See Lorillard Tobacco Co. v. Montrose Wholesale Candies & Sundries, Inc., 2008 U.S.

Dist. LEXIS 31761, *11 (N.D. Ill. Apr. 17, 2008).

        B.     Defendants’ Counterfeiting Was Willful

        As alleged in Plaintiff’s Complaint, Defaulting Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine METALLICA Products. Docket Entry 1 at

¶ 16.

        It is clear that Defaulting Defendants’ counterfeiting was willful. “Willful

infringement may be attributed to the defendant’s actions where he had knowledge that his conduct

constituted infringement or where he showed a reckless disregard for the owner’s rights.” Lorillard

Tobacco Co. v. S & M Cent. Serv. Corp., 2004 LEXIS 22563, *19-20 (N.D. Ill. Feb. 25, 2005). As



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such, knowledge need not be proven directly, but can be inferred from a defendant’s conduct. Id.

at 20. In the instant case, Defaulting Defendants clearly had knowledge that their activities

constituted infringement or at least a reckless disregard for Plaintiff’s rights in the METALLICA

Trademarks, especially given Plaintiff’s extensive promotional efforts discussed above.

       Finally, this Court has deemed counterfeiting willful when defendants default. See,

Entertainment One UK Ltd. v. The Partnerships and Unincorporated Associations Identified on

Schedule “A”, No. 18-cv-07685 (N.D. Ill. Jan, 10, 2019); Metallica, a California general

partnership v. The Partnerships and Unincorporated Associations Identified on Schedule “A”,

No. 19-cv-02219 (N.D. Ill. Jul. 17, 2019) and Metallica, a California general partnership v. The

Partnerships and Unincorporated Associations Identified on Schedule “A”, No. 19-cv-06791

(N.D. Ill. December 2, 2019).

       C.     A High Statutory Damages Award Is Appropriate and Just

       The Seventh Circuit's standard for awarding statutory damages for copyright

infringement under 17 U.S.C § 504(c) is articulated in Chi-Boy Music v. Charlie Club, 930 F.2d

1224, 1229 (7th Cir. 1991). Under the Chi-Boy standard, a court awarding statutory damages is

“not required to follow any rigid formula,” but instead “enjoys wide discretion.” Id. In computing

the award amount, a court may consider factors such as “the difficulty or impossibility of proving

actual damages, the circumstances of the infringement, and the efficacy of the damages as a

deterrent.” Id. Courts in this district have also considered the significant value of a plaintiff’s

brand and the efforts taken to protect, promote and enhance that brand in determining the

appropriate dollar figure for the award. Lorillard Tobacco Co., 2004 U.S. Dist. LEXIS 22563,

*16.




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       In addition, courts have awarded high damage amounts where a defendant’s counterfeiting

activities attracted wide market exposure through Internet traffic or advertisement. See Coach,

Inc. v. Ocean Point Gifts, 2010 U.S. Dist. LEXIS 59003, *15-16 (D.N.J. Jun. 14, 2010) (high

damage awards in counterfeit cases were “due in part to the wide market exposure that the

Internet can provide”); Burberry Ltd. v. Designers Imports, Inc., 2010 U.S. Dist. LEXIS 3605,

*28-29 (S.D.N.Y. Jan. 19, 2010) (damages amount based, in part, on “Defendant's ability to reach

a vast customer base through internet advertising”).

       In similar cases involving willful Internet-based counterfeiting, this Court has awarded

significant damages, including up to the maximum provided by law, to the plaintiff to serve the

purposes of: (1) deterring the defendant and others situated like him from bringing into commerce

counterfeit goods, (2) compensating the plaintiff for damages caused by defendant’s infringement,

and (3) punishing the defendant appropriately for his counterfeiting activities. See, e.g.,

Entertainment One UK Ltd. v. The Partnerships and Unincorporated Associations Identified on

Schedule “A”, No. 18-cv-07685 (N.D. Ill. Jan, 10, 2019); Metallica, a California general

partnership v. The Partnerships and Unincorporated Associations Identified on Schedule “A”,

No. 19-cv-02219 (N.D. Ill. Jul. 17, 2019) and Metallica, a California general partnership v. The

Partnerships and Unincorporated Associations Identified on Schedule “A”, No. 19-cv-06791

(N.D. Ill. December 2, 2019).

       Given the Court’s clear discretion in determining the appropriate amount of the statutory

damages award within the statutory limits of 15 U.S.C. § 1117(c), Plaintiff respectfully requests

the Court’s entry of an award of one hundred thousand dollars ($100,000) per Defaulting

Defendant as it has done in the past under similar circumstances.




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         D.       METALLICA is Entitled to Permanent Injunctive Relief

         In addition to the foregoing relief, METALLICA respectfully requests entry of a

permanent injunction enjoining Defaulting Defendants from infringing or otherwise violating

Plaintiff’s registered trademark rights in the METALLICA Trademarks, including at least all

injunctive relief previously awarded by this Court to Plaintiff in the TRO and Preliminary

Injunction. METALLICA is also entitled to injunctive relief so it can quickly take action against

any new websites and online marketplace accounts that are identified, found to be linked to

Defaulting Defendants, and selling Counterfeit METALLICA Products. See, Entertainment One

UK Ltd. v. The Partnerships and Unincorporated Associations Identified on Schedule “A”, No.

18-cv-07685 (N.D. Ill. Jan, 10, 2019); Metallica, a California general partnership v. The

Partnerships and Unincorporated Associations Identified on Schedule “A”, No. 19-cv-02219

(N.D. Ill. Jul. 17, 2019) and Metallica, a California general partnership v. The Partnerships and

Unincorporated Associations Identified on Schedule “A”, No. 19-cv-06791 (N.D. Ill. December

2, 2019).

V.       CONCLUSION

         METALLICA respectfully requests that the Court enter default and default judgment

against each Defaulting Defendant, award statutory damages in the amount of one hundred

thousand dollars ($100,000) per Defaulting Defendant pursuant to 15 U.S.C. § 1117(c) and enter

a     permanent     injunction   order   prohibiting   Defaulting   Defendants    from    selling

Counterfeit/Infringing Products, permanently transferring the domain names used by Defaulting

Defendants to sell Counterfeit/Infringing Products to METALLICA, and transferring all assets in

Defaulting Defendants’ financial accounts operated by eBay, PayPal, Amazon and Alipay to

METALLICA.



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DATED: December 13, 2019                            Respectfully submitted,

                                                    /s/ Keith A. Vogt
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                                                    ATTORNEY FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

       I hereby certify that on December 13, 2019, I will electronically file the foregoing with
the Clerk of the Court using the CM/ECF system, I will electronically publish the documents on
a website to which the Defendant Domain Names that have been transferred to Plaintiff’s control
now redirect, and I will send an e-mail to the e-mail addresses identified in Exhibit 2 to the
Declaration of Paul Varley and any e-mail addresses provided for Defendants by third parties that
includes a link to said website.
                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.




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